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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA

      Plaintiff,

v.                                    Case No. 09-CR-043 SPF

LINDSEY KENT SPRINGER,
OSCAR AMOS STILLEY

      Defendants.

        MOTION TO UNSEAL AFFIDAVIT AND TRANSCRIPT OF MEETING ON
                           SEPTEMBER 15, 2005


      Lindsey Kent Springer (“Springer”), by limited special appearance, and not

a general appearance, moves this 28 U.S.C. § 116(a) United States District Court to

ORDER the unsealing of the affidavit Melody Noble Nelson declared she tendered

to Magistrate Frank H. McCarthy in order to obtain the purported search warrant

that Brian Shern, 10 other Special Agents, and Nelson and Horn by phone, relied

upon to enter into Springer’s Fourth Amendment protected home location on

September 16, 2005. Without this affidavit no probable cause could have existed

for the issuance of any such warrant even if it was issued by an authorized State

Court. Springer also seeks the transcript or whatever recording made of the ex

parte meeting between Nelson and the Honorable Magistrate Judge Frank H.

McCarthy. This motion is filed simultaneously with a Motion for Protective Order

and Motion to Unseal certain docket entries in 03-CR-55E. Springer consulted with



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Mr. Snoke and he determined the Court was going to give it to Springer anyway.

                                     BACKGROUND

      In 1993, Springer announced publicly that his God had asked him in 1992 to

help rid the Earth of the Internal Revenue Service. This mission would be named

Bondage Breaker’s Ministries.       Sometime thereafter, the revenuers learned of

Springer’s public admissions regarding his mission and not long after trouble for

Springer ensued.

      Springer has been under criminal investigation by the United States since at

least 1997 and maybe even earlier than that date.

      On September 15, 2005, at 4:01 P.M. Melody Noble Nelson presented an

affidavit of Special Agent Brian Shern to U.S. Magistrate Judge Frank H. McCarthy

(“Judge McCarthy”), to purportedly show probable cause why Judge McCarthy

should sign his name on a “search warrant” which sought to search Springer’s

Home location located within the State of Oklahoma and not within any territorial

limits Congress could confer on U.S. Magistrate’s within its 28 U.S.C. § 116 territorial

jurisdiction. See Exhibit 1, Declaration of Melody Noble Nelson in 06-156.

      Article III, Section 2, Clause 3 requires that "[t]he Trial of all Crimes . . . shall be

held in the State where the said Crimes shall have been committed." Art. III, § 2, cl.

3. Its command is reinforced by the Sixth Amendment's requirement that "[i]n all

criminal prosecutions, the accused shall enjoy the right to a speedy and public trial,

by an impartial jury of the State and district wherein the crime shall have been



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committed.” United States v. Rodriquez-Moreno, 526 U.S. 275, 278 (1999) “Thus, the

6th Amendment provides that all criminal trials shall be by a jury of the ‘State and

district’ in which the crime shall have been committed; and by ‘district’ is here

meant either an entire State or a subdivision of a State.” See Harvard Law Review,

Vol. XII, # 6, page 385 (1.25.1899)(“The status of our new territories.) Springer

attached this review to his Motion to Unseal and does not reproduce it as an exhibit

with this Motion to save resources. See also U.S. v Dawson, 56 U.S. (15 Howard) 467,

487-488 (1856)

      Although Rule 41 is in the Federal Rules of Criminal Procedure, Springer was

denied the affidavit of Shern or any other declarant by Judge McCarthy saying “If

the investigation results in a criminal prosecution, access to those materials may be

sought in those proceedings.” See Exhibit 1, pg. 42 therein.

      Springer needs the affidavit for the purpose of preparing a motion pursuant

to Franks v. Deleware, 438 U.S. 154, 155 (1978). As more fully demonstrated in both

Springer’s Motion for Protective Order and Motion to Unseal certain docket entries

in 03-CR-55E, Nelson, Horn, Meadors and Shern, relied heavily upon their deal with

Eddy Patterson. Although the Rule 35(b) attached to Springer’s Motion to Unseal

reveals a finding Mrs. Patterson gave substantial assistance to the United States prior

to September 1, 2004, the exact opposite is in fact true. See declaration of Jerold

Barringer attached to Springer’s Motion to Unseal, Exhibit 5.

      Furthermore, the information Meadors obtained from Springer by way of her



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6700 assault was under a limited use basis and only for the purposes to determine

whether any tapes for sale on the internet from Springer speaking in 1995 were

resulting in any 6700 violations. As Springer learned later, there was nothing to

trigger a 6700 investigation of Springer. That was a front unlawfully orchestrated by

Nelson, Horn, Meadors, David Reed and Michael Gregory. No delegation of

authority existed for anything Meadors was attempting to accomplish.

                                   CONCLUSION

      Lindsey Kent Springer requests this Court to enter an order unsealing any

affidavit presented to Judge McCarthy relied to find probable cause in his issuance

of his warrant dated September 15, 2005, and the transcript of any such ex parte

meeting between Judge McCarthy and Melody Noble Nelson as declared by

Nelson in case 06-156

                                Respectfully Submitted

                                /s/ Lindsey K. Springer
                                Lindsey K. Springer
                                5147 S. Harvard, # 116
                                Tulsa, Oklahoma 74135
                                918-748-5539/955-8225(cell)




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                             CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of Lindsey Kent Springer’s Motion

to Unseal Affidavit and Transcript was served by way of ECF System on April 13,
2009, to:


Kenneth P. Snoke,
Charles O’Reilly,
Oscar Stilley




                         /s/ Lindsey K. Springer
                         Signature




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